Filed 04/12/18                                                                    Case 18-22152                                            Doc 9




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                                                                               UNITED STATES BANKRUPTCY COURT
                      10                                                        EASTERN DISTRICT OF CALIFORNIA
                                                                                    SACRAMENTO DIVISION
                      11
                      12
                            In Re:                                                                Case No.:      18-22152-B-11
                      13                                                                          DC No.:        DL-02
                            Caffe Ettore Incorporated, a
                      14    California corporation                                                Date:          April 17, 2018
                                                                                                  Time:          2:00 PM
                      15    1168 National Drive, Suite 10, Sacramento, CA 95834                   Judge:         Jaime
                            TIN: xx-xxx1447                                                       Courtroom:     32; Dept B
                      16                                                                          Place:         501 I Street, 6th Floor
                                                                                                                 Sacramento CA 95814
                      17                                                       Debtor(s).
                      18
                      19
                      20                            DECLARATION OF ETTORE RAVAZZOLO IN SUPPORT OF
                                                            MOTION TO AUTHORIZE HONORING OF
                      21                    PRE-PETITION GIFT CARDS, GIFT CERTIFICATES AND CUSTOMER DEPOSITS
                      22
                                      I, Ettore Ravazzolo, declare as follows:
                      23
                                      1. I am the President & Chief Executive Officer of Caffe Ettore Incorporated, a California
                      24
                           corporation (“Debtor”).
                      25
                                      2. I have personal knowledge of the matters set forth in this declaration, except as to those
                      26
                           matters set forth on information and belief, which I believe to be true. If called upon, I am competent
                      27
                           to testify as to the matters set forth in this declaration, and would testify in accordance with this
                      28
     DAHL LAW
   ATTORNEYS AT LAW
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   SACRAMENTO, CA
Filed 04/12/18                                                       Case 18-22152                                         Doc 9




             1   declaration.
             2              3. Debtor filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code [11
             3   U.S.C. §101, et seq.] on April 10, 2018. No trustee has been appointed in Debtor’s Chapter 11 case, and
             4   Debtor is managing its affairs as debtor-in-possession.
             5              4. Debtor owns and operates Ettore’s Bakery & Café locations in Roseville and Sacramento,
             6   California, and a production facility in Sacramento, California. Debtor’s businesses provide dining
             7   services, catering, sale of pastries, custom desserts and wedding cakes at retail. Debtor also supplies
             8   baked goods at wholesale to Nugget supermarket locations in Marin, Sonoma and Sacramento Counties,
             9   as well as to other trade customers.
           10               5. During the ordinary course of business, Debtor offered for purchase gift cards and gift
           11    certificates to be applied to future purchases of goods and services offered by Debtor. As of the date of
           12    the bankruptcy filing, the outstanding gift cards and gift certificates not yet redeemed total approximately
           13    $175,085.
           14               6. As a specialized European bakery, Debtor accepted from customers deposits to be applied
           15    towards the purchase of custom baked goods the Debtor was to create and provide to the customer, such
           16    as wedding cakes and other custom requests for baked goods. As of the date of the bankruptcy filing,
           17    customer deposits for custom baked goods total approximately $83,600.
           18               7. Debtor seeks an order authorizing the honoring of outstanding gift cards and gift certificates
           19    sold by Debtor pre-petition and the honoring of all pre-petition deposits submitted to Debtor to be
           20    applied towards the purchase of custom baked goods provided by the Debtor.
           21               8. I know that our failure to honor the financial commitments made in good faith by patrons of
           22    Debtor would cause a significant loss of goodwill between Debtor and its customers and potentially
           23    cause irreparable harm to Debtor through the loss of its customer base and future sales.
           24               9. I believe that each of the outstanding gift cards and gift certificates are in amounts less than
           25    $2,850.
           26    ///
           27    ///
           28    ///
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Filed 04/12/18   Case 18-22152   Doc 9
